       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 1 of 29




                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


     PLAINTIFFS’ OPPOSED MOTION TO SUPPLEMENT THE CONSOLIDATED
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS




4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 2 of 29



                                                TABLE OF CONTENTS

                                                                                                                                Page

I.       INTRODUCTION ...............................................................................................................1

II.      FACTUAL ALLEGATIONS ..............................................................................................4

III.     PROCEDURAL HISTORY.................................................................................................7

IV.      LEGAL STANDARD..........................................................................................................9

V.       THE RELEVANT FACTORS COUNSEL IN FAVOR OF PERMITTING
         PLAINTIFFS LEAVE TO SUPPLEMENT THE COMPLAINT .....................................11

         A.         Undisputed: Timeliness ........................................................................................11

         B.         Undisputed: No Bad Faith or Dilatory Motive .....................................................12

         C.         Undisputed: No Repeated Failures .......................................................................13

         D.         Undisputed: No Prejudice to Defendants ..............................................................13

         E.         The Proposed Supplement Is Not Futile ................................................................14

VI.      CONCLUSION ..................................................................................................................20




                                                                -i-
4854-3195-8435.v6
        Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 3 of 29



                                                TABLE OF AUTHORITIES

                                                                                                                                     Page


CASES

Asher v. Baxter Int’l Inc.,
   377 F.3d 727 (7th Cir. 2004), as amended
   (Sept. 3, 2004) ....................................................................................................................17, 18

Chemetron Corp. v. Bus. Funds,
   682 F.2d 1149 (5th Cir. 1982), vacated on other grounds,
   460 U.S. 1007 (1983) ...............................................................................................................10

DT Apartment Grp., LP v. CWCapital, LLC,
   2012 WL 4740488 (N.D. Tex. Oct. 3, 2012) ...........................................................9, 10, 12, 14

Dueling v. Devon Energy Corp.,
   623 F. App’x 127 (5th Cir. 2015) ............................................................................................13

Dura Pharms., Inc. v. Broudo,
   544 U.S. 336 (2005) .................................................................................................................14

Dussouy v. Gulf Coast Inv. Corp.,
   660 F.2d 594 (5th Cir. 1981) ...................................................................................................12

Entergy Miss., Inc. v. Marquette Transp. Co., L.L.C.,
   742 F. App’x 800 (5th Cir. 2018) ............................................................................................11

Foman v. Davis,
   371 U.S. 178 (1962) ...........................................................................................................10, 11

Franchi v. SmileDirectClub, Inc.,
   633 F. Supp. 3d 1046 (M.D. Tenn. 2022) ................................................................................17

Ganino v. Citizens Utils. Co.,
   228 F.3d 154 (2d Cir. 2000).....................................................................................................19

Garcia v. Zale Corp.,
   2006 WL 298156 (N.D. Tex. Feb. 1, 2006) .............................................................................14

Hegwood v. Ross Stores, Inc.,
   2006 WL 8437334 (N.D. Tex. June 26, 2006) ..................................................................11, 12

Holzwasser v. Staktek Holdings, Inc.,
   2006 WL 897746 (W.D. Tex. Mar. 30, 2006) .........................................................................20

Hudson v. L&W Supply Corp., Inc.,
   2009 WL 10693829 (S.D. Tex. June 18, 2009) .......................................................................12

                                                                   - ii -
4854-3195-8435.v6
        Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 4 of 29




                                                                                                                              Page


Hyde v. Hoffman-La Roche Inc.,
   2008 WL 2923818 (N.D. Tex. July 30, 2008) .........................................................................10

In re Amgen Inc. Sec. Litig.,
    544 F. Supp. 2d 1009 (C.D. Cal. 2008) ...................................................................................17

In re Apollo Grp., Inc. Sec. Litig.,
    2010 WL 5927988 (9th Cir. June 23, 2010) ............................................................................18

In re BP p.l.c. Sec. Litig.,
    922 F. Supp. 2d 600 (S.D. Tex. 2013) .....................................................................................18

In re Motorola Sec. Litig.,
    2004 WL 2032769 (N.D. Ill. Sept. 9, 2004) ............................................................................17

In re Res. Am. Sec. Litig.,
    2000 WL 1053861 (E.D. Pa. July 26, 2000) ............................................................................18

Jebaco Inc. v. Harrah’s Operating Co., Inc.,
   587 F.3d 314 (5th Cir. 2009) ...................................................................................................11

Lormand v. US Unwired, Inc.,
   565 F.3d 228 (5th Cir. 2009) .......................................................................................14, 15, 17

Lowrey v. Tex. A & M Univ. Sys.,
   117 F.3d 242 (5th Cir. 1997) ...................................................................................................10

Matter of Southmark Corp.,
   88 F.3d 311 (5th Cir. 1996) .....................................................................................................11

Mayeaux v. La. Health Serv. & Indem. Co.,
  376 F.3d 420 (5th Cir. 2004) ...................................................................................................10

Pub. Emps. Ret. Sys. of Miss., P.R. Tchrs. Ret. Sys. v. Amedisys, Inc.,
   769 F.3d 313 (5th Cir. 2014) ........................................................................................... passim

SGIC Strategic Glob. Inv. Cap., Inc. v. Burger King Eur. GmbH,
   839 F.3d 422 (5th Cir. 2016) .......................................................................................10, 11, 13

Smith v. EMC Corp.,
   393 F.3d 590 (5th Cir. 2004) ...................................................................................................13

Spitzberg v. Hous. Am. Energy Corp.,
    758 F.3d 676 (5th Cir. 2014) ...................................................................................................14


                                                               - iii -
4854-3195-8435.v6
         Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 5 of 29




                                                                                                                                          Page


Stripling v. Jordan Prod. Co.,
    234 F.3d 863 (5th Cir. 2000) ...................................................................................................14

Travis v. City of Grand Prairie,
   2015 WL 13002069 (N.D. Tex. Aug. 6, 2015), aff’d,
   654 F. App’x 161 (5th Cir. 2016) ............................................................................................12

Wieland v. Stone Energy Corp.,
   2007 WL 2903178 (W.D. La. Aug. 17, 2007), report & rec. adopted,
   2007 WL 4403548 (W.D. La. Oct. 1, 2007) ......................................................................16, 19

Zwick Partners, LP v. Quorum Health Corp.,
   2018 WL 2933406 (M.D. Tenn. Apr. 19, 2018) ......................................................................17

STATUTES, RULES, AND REGULATIONS

Federal Rules of Civil Procedure
   Rule 8(a)(2) ..............................................................................................................................14
   Rule 12(b)(6)......................................................................................................................14, 17
   Rule 15(a)...........................................................................................................................10, 11
   Rule 15(a)(2) ............................................................................................................................10
   Rule 15(d) ........................................................................................................................1, 9, 10
   Rule 56 .....................................................................................................................................14

SECONDARY AUTHORITIES

6A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure
   §1504 (3d ed. 2004) ...................................................................................................................9

https://ori.hhs.gov/about-ori (last visited on Feb. 1, 2024) ..............................................................1




                                                                     - iv -
4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 6 of 29




         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

K. Rao (collectively, “Plaintiffs”) respectfully move for leave to supplement their August 18, 2022

Consolidated Complaint for Violations of the Federal Securities Laws (ECF 68) (“Complaint”)1

against defendants Cassava Sciences, Inc., Remi Barbier, Eric Schoen, and Lindsay Burns

(collectively, “Defendants”) pursuant to Federal Rule of Civil Procedure (“Rule”) 15(a) or (d).

I.       INTRODUCTION

         On May 11, 2023, this Court denied Defendants’ motion to dismiss and upheld all the

claims in the Complaint, except as to a defendant who passed away. See ECF 104. On October

12, 2023, the journal Science published an article revealing that investigators at the City University

of New York (“CUNY”) had submitted a “final” 50+ page report (“CUNY Report”) to the Office

for Research Integrity (“ORI”),2 finding egregious scientific misconduct involving research papers

used to support pre-clinical and clinical trials of Cassava’s simufilam drug candidate (“2023

Science Article”). The 2023 Science Article revealed extensive data manipulation, research

misconduct, destruction of original source data, and conclusion that defendant Burns was at fault

for at least some of the misconduct. This corrective disclosure was quickly reflected in Cassava’s

stock price, resulting in a decline of over 30% and causing additional damage to putative Class

members.

         Rule 15(d) contemplates precisely this scenario, allowing parties “to serve a supplemental

pleading setting out any transaction, occurrence, or event that happened after the date of the

pleading to be supplemented” with leave of court. Fed. R. Civ. P. 15(d). Plaintiffs seek to

supplement the Complaint now in order to clarify the scope of the putative Class and claims for


1
     Unless otherwise noted, all “¶__” or “¶¶__” references are to the Complaint.
2
   The ORI is the public research oversight arm for the Secretary of the U.S. Department of Health
and Human Services. See https://ori.hhs.gov/about-ori (last visited on Feb. 1, 2024).

                                                -1-
4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 7 of 29




trial. Accordingly, through this motion, Plaintiffs seek a modest supplement to the Complaint to

plead the October 12, 2023 Science Article and subsequent stock drop as set forth in Exhibit A,3

thereby extending the putative Class Period through October 12, 2023, inclusive.4

         Plaintiffs sought to avoid burdening the Court with this motion by seeking Defendants’

non-opposition to their ability to seek damages at trial resulting from the 2023 corrective

disclosure. Defendants, however, objected because the drop was not pled in the Complaint, even

though it had not yet happened at the time of the Complaint’s filing on August 18, 2022. To

address Defendants’ objection, Plaintiffs then sought consent to supplement the Complaint

accordingly. Defendants rejected that proposal, too, claiming it was futile on loss-causation

grounds. Loss causation allegations, however, need only meet Rule 8’s liberal pleading standards

– a standard readily met here.

         As this Court held in denying Defendants’ motion to dismiss, “[f]or a complaint to

adequately plead loss causation, ‘it need only set forth “a short and plain statement of the claim

showing that the pleader is entitled to relief.”’” ECF 104 at 29-30 (quoting Pub. Emps. Ret. Sys.

of Miss., P.R. Tchrs. Ret. Sys. v. Amedisys, Inc., 769 F.3d 313, 320 (5th Cir. 2014)). “Where the

Complaint sets forth specific allegations of a series of partial corrective disclosures, joined with

the subsequent fall in [the company’s] stock value, and in the absence of any other contravening

negative event, the plaintiffs have complied with [the Supreme Court’s] analysis of loss causation.”



3
   Unless otherwise indicated, all “Exhibit” or “Ex.” references are to the Affidavit of Kevin
Lavelle in Support of Plaintiffs’ Opposed Motion to Supplement the Consolidated Complaint for
Violations of the Federal Securities Laws.
4
    The putative Class Period as currently pled in the Complaint is September 14, 2020 through
July 26, 2022, inclusive. ¶46. Based on the proposed supplement, Plaintiffs will move to certify
a class of purchasers or acquirers of Cassava securities spanning the entire period between
September 14, 2020 and October 12, 2023, inclusive. According to the deadlines set by the Court,
Plaintiffs’ motion for class certification is due on March 13, 2024. ECF 117.

                                               -2-
4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 8 of 29




Amedisys, 769 F.3d at 326. Here, too, Plaintiffs’ proposed supplement alleges a partial corrective

disclosure, subsequent fall in the stock price, and no contravening negative event. See id.; ECF

104 at 29-31. The supplement is, therefore, not futile.

         Defendants, in fact, do not dispute that the 2023 Science Article relates to the alleged fraud

or that Cassava’s stock price declined following its publication. Instead, Defendants contend that

the 2023 Science Article cannot be a corrective disclosure because it is purportedly “unreliable”

and because the “issues” in the article “have been the subject of repeated news coverage” and been

addressed “by Plaintiffs’ own amended complaint.” Ex. B at 1. But Defendants already made

those arguments at the motion-to-dismiss stage and lost. Compare ECF 81 at 31, 34 (arguing

alleged corrective disclosures were “unvetted,” post-dated the initial complaint and contained no

“new” facts), with ECF 104 at 30-31 (sustaining Plaintiffs’ loss causation allegations).

         Defendants’ recycled arguments therefore fail for the same reasons they did at the motion-

to-dismiss stage. See ECF 86 at 34-35 (responding to Defendants’ loss causation arguments). As

this Court found in rejecting Defendants’ motion to dismiss, such fact-bound arguments about

what the market “knew” and what evidence is “reliable” are premature at the pleading stage, when

the Court must “‘accept “all well pleaded facts as true, viewing them in the light most favorable

to the plaintiff.”’” ECF 104 at 12.

         Moreover, Defendants’ assertion that the 2023 Science Article contained no “new” facts is

incorrect. The article revealed for the first time that CUNY investigators found, contrary to

Defendants’ public statements, that neither defendant Burns nor Cassava’s scientific collaborator,

Hoau-Yan Wang, were able to provide any “original raw data” or “‘even a single datum or

notebook in response to any allegation.’” Ex. A, Supp. ¶2. The article also revealed that

investigators found “improperly manipulated” scientific images and “deliberate scientific

misconduct.” Id., Supp. ¶¶1-2. None of these facts was previously known, as demonstrated by

                                                 -3-
4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 9 of 29




the stock drop of 30% on abnormally high trading volume that followed, despite Defendants’

denials of wrongdoing. Defendants have no plausible explanation for why, if this information was

already known to the market, Cassava’s stock price fell so dramatically on the news.

         Defendants’ improper fact-based claim about the reliability of the 2023 Science Article

likewise fails. See ECF 104 at 21 (“[T]he reliability of short-seller reports – here, the Citizen

Petitions – is a question of fact that the Court cannot resolve at this time.”). Further, that any final

action by CUNY was reportedly stayed pending an inquiry into the leak of the CUNY Report does

not render it, or the 2023 Science Article, unreliable. The CUNY report was indeed deemed “final”

by the independent CUNY investigating committee and submitted to ORI, a federal oversight

agency. See Ex. A, Supp. ¶¶1-2. Certainly, the market found it credible enough to downgrade the

valuation of the Company as reflected by the lower stock price.

         As explained below, each relevant factor weighs in favor of granting leave to supplement

the Complaint, and four of the five factors are undisputed. Accordingly, Plaintiffs respectfully

request that the Court grant leave to supplement the Complaint.

II.      FACTUAL ALLEGATIONS

         The Complaint alleges, inter alia, that Cassava’s pre-clinical and clinical research

supporting the commercial development of simufilam for treatment of Alzheimer’s disease

contained extensive data manipulations concealed by Defendants even as they touted their

scientific results. ¶¶105-109, 143-251. On August 24, 2021, reports emerged that the FDA had

received a Citizen Petition raising “grave concerns about the quality and integrity of the laboratory-

based studies surrounding” simufilam, including evidence that defendant Burns and Wang

manipulated foundational pre-clinical and clinical studies. ¶¶12-13.

         The next day, on August 25, 2021, Defendants publicly denied the Citizen Petition’s

allegations, stating “Cassava Sciences believes the claims in this post regarding scientific integrity

                                                 -4-
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 10 of 29




are false and misleading” and that the Company “stands behind its science, its scientists and its

scientific collaborators.” ¶316. Defendants went on to label various statements from the Citizen

Petition as “fiction” before setting out the purported “facts.” ¶¶14, 317. Despite Defendants’

strenuous denials, the Company’s stock price collapsed, plummeting 39.9% between August 25

and 26, 2021, on heavy trading volume. ¶¶15, 497.

         As a result of the Citizen Petition, CUNY began a research misconduct inquiry into Wang

and the research at issue. ¶¶28, 367-368.

         On September 3, 2021, the Company issued another press release calling the Citizen

Petition “false” and “misleading.” ¶¶331-332. Defendant Barbier issued a full-throated defense

of Wang to investors, stating: “Based on our long-term scientific relationship with Prof. Wang, we

support his scientific integrity and ethics in the strongest possible terms.” ¶333.

         Cassava then issued more press releases on November 4 and December 21, 2021, falsely

stating that two scientific journals separately investigating alleged misconduct had received

“original” images and “raw” data from Burns and Wang, supposedly exonerating Defendants.

¶¶338-356, 386-407. Cassava’s November 4 press release trumpeted that the “Review by Journal

of Neuroscience Shows No Evidence of Data Manipulation,” falsely representing that the journal

had “requested raw data for the article, including images of original, uncropped Western blots”

and, “[h]aving received that data and completed its review,” found no evidence of manipulation.

¶¶339-342.

         Similarly, Cassava’s December 21 press release quoted Barbier as stating: “Another

science journal [Neuroscience] has cleared us of allegations” and “[t]his reinforces my conviction

that false and misleading allegations of scientific misconduct being made against us are simply

designed to enrich those making them.” ¶386. Like the November 4 press release, Defendants’

December 21 statement also falsely represented that the journal, “asked the authors for images of

                                                -5-
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 11 of 29




the original, uncropped Western blots from this study,” and, “[a]fter careful examination of these

original material, Neuroscience found no evidence of manipulation.” ¶387.

         As the Complaint alleges, however, the articles’ authors, defendant Burns and Wang, never

provided the “raw data” or “original” images to the journals, but rather submitted doctored data in

an attempt to exonerate themselves. ¶¶343, 346-347, 355, 389-393, 402-403. The purported

exculpatory statements from the journal were obtained under false pretenses and then cited by

Cassava in press releases to drive up Cassava’s flagging stock price. Id.

         When allegations surfaced in November 2021 that the original data may not have been

provided, the Journal of Neuroscience changed its statement to an Expression of Concern and

stated that “JNeurosci will await the outcome of that [CUNY] investigation before taking further

action.” ¶¶33, 344-357. Similarly, Neuroscience noted that “[i]f any subsequent information

arises from an institutional investigation, this will be considered once available.” ¶388. Other

journals followed suit, with Neurobiology of Aging issuing an expression of concern and stating

that it “will make a final decision as to appropriate corrective action once that [CUNY] inquiry has

been concluded.” ¶¶414-417.

         Cassava continued to deny the allegations and claimed vindication in February 2022 after

the FDA denied the Citizen Petition solely on technical grounds: “‘We said from the outset that

the allegations are false.’” ¶412.5 In an April 18, 2022 New York Times exposé on Cassava,

Barbier leaned further into Defendants’ claims that Cassava’s critics were “‘bad actors’ with

financial conflicts of interest,” that “the allegations of data manipulation were false,” and that

“‘[w]e stand by Professor Wang 100 percent.’” ¶427.


5
    The FDA’s response emphasized that the Citizen Petition was “being denied solely on the
grounds that your requests are not the appropriate subject of a citizen petition,” and that “[t]his
response does not represent a decision by the Agency to take or refrain from taking any action
relating to the subject matter of your [Citizen Petition].” ¶411.

                                               -6-
4854-3195-8435.v6
       Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 12 of 29




         It was not until October 12, 2023, that the results of the CUNY investigation finally came

to light in the article published by Science that is the subject of this motion and Plaintiffs’ proposed

supplement. As revealed for the first time by Science, the CUNY Report detailed extensive

evidence of data manipulation in Cassava’s research and found Burns responsible for certain

misconduct. Ex. A, Supp. ¶¶1-7. The article also revealed that Burns and Wang could not provide

any “original” or “raw” data to the investigators, contradicting Defendants’ claims that the original

data had been provided to the scientific journals investigating the Citizen Petition’s allegations of

wrongdoing, and undercutting Defendants’ repeated denials of wrongdoing. See id.

         Despite Defendants’ continued denials of wrongdoing in an October 13, 2023 press release,

the stock dropped 31.5% between October 12 and October 16, two trading days after the 2023

Science Article was published, on heavy trading volume. Id., Supp. ¶5.

III.     PROCEDURAL HISTORY

         Plaintiffs filed the Complaint on August 18, 2022. See ECF 68. On May 11, 2023, the

Court denied Defendants’ motion to dismiss. See ECF 104.6 Rejecting Defendants’ loss-causation

arguments, the Court upheld Plaintiffs’ allegations of a series of partial corrective disclosures,

including articles, revealing data manipulation and subsequent stock drops. Id. at 30-31.

         Following denial of Defendants’ motion to dismiss, discovery began, and the pre-trial

schedule was later extended to preserve resources pending a November 2023 mediation. See ECFs

114, 117. The November 2023 mediation proved unsuccessful, and the parties resumed active

litigation of the case.

         On December 8, 2023, Plaintiffs informed Defendants of their intention to seek damages

at trial for the stock drop following the 2023 Science Article’s publication. Ex. B at 4-5. On


6
    Former Cassava executive Nadav Friedmann was dismissed as a defendant due to his death,
but the Court otherwise upheld Plaintiffs’ allegations in full.

                                                 -7-
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 13 of 29




December 12, 2023, Defendants objected to Plaintiffs’ ability to recover damages for events not

alleged in the Complaint. Id. On December 13, 2023, Plaintiffs sought to address Defendants’

objection by requesting their consent to supplementation of the Complaint to add the 2023 Science

Article as a corrective disclosure and subsequent stock drop. Id. at 4. Plaintiffs provided a draft

supplement to Defendants, and on January 3, 2024, Defendants responded that they intended, at

that time, to oppose the supplement solely on the ground of futility. See id. at 1-3.

         As reflected in Exhibit A, Plaintiffs’ proposed supplement adds the following allegations

to the Complaint “LOSS CAUSATION AND ECONOMIC LOSS” section, to be inserted after

¶506:

                 Supp. ¶1.     On October 12, 2023, minutes before the market closed, the
         journal Science published an article publicly revealing for the first time that CUNY
         investigators had found scientific misconduct involving 20 research papers about
         simufilam, according to a “Final” 50-page report obtained by the journal. Among
         other things, the CUNY investigators “found numerous signs that images were
         improperly manipulated, for example in a 2012 paper in The Journal of
         Neuroscience that suggested simufilam can blunt the pathological effects of beta
         amyloid, a protein widely thought to drive Alzheimer’s disease.” Notably, the
         investigators “concluded that Lindsay Burns, Cassava’s senior vice president for
         neuroscience and a co-author on several of the papers, bears primary or partial
         responsibility for some of the possible misconduct or scientific errors.”

                 Supp. ¶2.       The Science article also quoted the CUNY report as saying
         that Wang did “did not produce the original raw data” and “failed to turn over to
         the panel ‘even a single datum or notebook in response to any allegation,’”
         revealing that neither Wang nor Burns could have provided original data to the
         scientific journals investigating the alleged data manipulation in Cassava’s pre-
         clinical and clinical research. The CUNY report, which had previously been sent
         by CUNY to ORI, stated that the committee “found evidence highly suggestive of
         deliberate scientific misconduct by Dr. Wang for 14 of the 31 allegations.”7

                Supp. ¶3.     In response to questions from Science, a senior adviser to
         City College of New York president Vincent Boudreau said the president could not
         comment, but “action on the report is imminent.” CUNY biochemist Kevin
         Gardner, who helped prepare a preliminary assessment of Wang’s work but was

7
    Because no primary data was provided, the CUNY investigators did not exonerate Wang or
Cassava for the remaining 17 allegations. Rather, according to CUNY investigators, the integrity
of the work remains “highly questionable.”

                                                -8-
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 14 of 29




         not involved in the final review, called what the committee found “embarrassing
         beyond words” and described Wang’s record of research as “abhorrent.” That this
         work supported clinical trials, Gardner added, “makes it doubly sickening.”

                 Supp. ¶4.       Barbier, in an October 13, 2023 press release issued in
         response to the Science article, stated that Cassava “remain[ed] confident in the
         underlying science for simufilam” and CUNY had “no legitimate basis on which to
         make accusations against the Company or its employees” even calling into question
         the authenticity of the CUNY Report.

                Supp. ¶5.        Despite Defendants’ denials, between October 12 and
         October 16, two trading days after the Science article was published, Cassava’s
         stock price fell from an opening price of $18.46 to $12.64, a statistically significant
         31.5% price drop, on heavy trading due to the disclosures and leakage described in
         paragraphs Supp. ¶¶1-4, above.

               Supp. ¶6.     Comparatively, between October 12 and 16, 2023, the
         Nasdaq was down 0.76% and the Nasdaq Biotechnology Index was down just 0.5%.

                 Supp. ¶7.        On October 27, 2023, CUNY issued a statement in response
         to the Science article, stating that due to the apparent leak of the CUNY report, final
         action would be stayed pending an “investigation of the process.”

Ex. A, Supp. ¶¶1-7. Based on this supplement, Plaintiffs will move to certify a class of purchasers

or acquirers of Cassava securities spanning the entire period between September 14, 2020 and

October 12, 2023, inclusive. Exhibit C is a copy of the proposed supplemented Complaint, which

includes the supplemental paragraphs in Exhibit A and updates the putative Class Period and the

Plaintiffs’ transactions and alleged losses during the updated Class Period. See Ex. C, ¶¶46, 52-

54.

IV.      LEGAL STANDARD

         Under Rule 15(d), the Court may “‘permit a party to [file] a supplemental pleading setting

out any transaction, occurrence, or event that happened after the date of the pleading [sought] to

be supplemented.’” DT Apartment Grp., LP v. CWCapital, LLC, 2012 WL 4740488, at *2 (N.D.

Tex. Oct. 3, 2012) (quoting Fed. R. Civ. P. 15(d)). “The purpose of the Rule ‘is to promote as

complete an adjudication of the dispute between the parties as is possible.’” Id. (quoting 6A



                                                  -9-
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 15 of 29




Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure §1504 at 245 (3d ed.

2004)).

          Additionally, Rule 15(a)(2) instructs courts to “freely give leave” to amend a complaint

“when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Supreme Court has held that “this

mandate is to be heeded” to allow a plaintiff the “opportunity to test his claim on the merits.”

Foman v. Davis, 371 U.S. 178, 182 (1962). The Fifth Circuit holds that the language of Rule 15(a)

“‘evinces a bias in favor of granting leave to amend’” and that district courts “must entertain a

presumption in favor of granting parties leave to amend.” Mayeaux v. La. Health Serv. & Indem.

Co., 376 F.3d 420, 425 (5th Cir. 2004).

          When exercising its discretion to grant a motion to supplement under Rule 15(d), “the court

considers the same factors as when deciding a Rule 15(a) motion to amend pleadings.” DT

Apartment Grp., 2012 WL 4740488, at *2 (citing Chemetron Corp. v. Bus. Funds, 682 F.2d 1149,

1193-94 (5th Cir. 1982), vacated on other grounds, 460 U.S. 1007 (1983)); Hyde v. Hoffman-La

Roche Inc., 2008 WL 2923818, at *3 (N.D. Tex. July 30, 2008) (“Judicial decisions to grant or

deny Rule 15(d) motions to supplement pleadings are generally based on the same factors of

fairness courts weigh when considering motions to amend pleadings under Rule 15(a).”).

          The Fifth Circuit has identified “‘five considerations to determine whether to grant a party

leave to amend a complaint: 1) undue delay, 2) bad faith or dilatory motive, 3) repeated failure to

cure deficiencies by previous amendments, 4) undue prejudice to the opposing party, and 5) futility

of the amendment.’” SGIC Strategic Glob. Inv. Cap., Inc. v. Burger King Eur. GmbH, 839 F.3d

422, 428 (5th Cir. 2016). Further, given the “bias in favor of granting leave to amend” in this

Circuit, “a district court must possess a substantial reason to deny [such] a request.” Id. (cleaned

up); see also Lowrey v. Tex. A & M Univ. Sys., 117 F.3d 242, 245 (5th Cir. 1997) (noting “[t]he



                                                 - 10 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 16 of 29




Supreme Court has explicitly disapproved of denying leave to amend without adequate

justification”) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

         Here, four of the Fifth Circuit’s five factors are unopposed, and the fifth factor of futility

also weighs in favor of permitting leave to supplement for the reasons explained below.

Accordingly, the motion should be granted.

V.       THE RELEVANT FACTORS COUNSEL IN FAVOR OF PERMITTING
         PLAINTIFFS LEAVE TO SUPPLEMENT THE COMPLAINT

         As set forth above, courts consider five factors in determining whether to grant a party

leave to supplement a complaint: (1) undue delay; (2) bad faith or dilatory motive; (3) repeated

failure to cure deficiencies by previous amendments; (4) undue prejudice to the opposing party;

and (5) futility of the amendment. See SGIC Strategic, 839 F.3d at 428.

         Here, none of the relevant factors provides a “‘“substantial reason” to deny’” Plaintiffs’

request. Id. In fact, Defendants do not claim that the motion is untimely, made in bad faith, or

that it will unduly prejudice Defendants. Nor do Defendants claim that Plaintiffs have repeatedly

failed to address deficiencies in their pleading. Thus, four of the five factors are undisputed, and

all of them weigh in favor of granting leave to file the supplement under Rule 15. Accordingly,

leave to supplement the Complaint “should be granted.” Entergy Miss., Inc. v. Marquette Transp.

Co., L.L.C., 742 F. App’x 800, 803 (5th Cir. 2018) (analyzing amendment under Rule 15(a))

(quoting Jebaco Inc. v. Harrah’s Operating Co., Inc., 587 F.3d 314, 322 (5th Cir. 2009)).

         A.         Undisputed: Timeliness

         First, it is undisputed that the motion is timely. Indeed, “‘the facts underlying the amended

[or supplemented] complaint’” did not begin to occur until October 12, 2023. See Hegwood v.

Ross Stores, Inc., 2006 WL 8437334, at *2 (N.D. Tex. June 26, 2006) (citing Matter of Southmark

Corp., 88 F.3d 311, 316 (5th Cir. 1996)). Courts find that amendments are timely where, as here,

Plaintiffs did not have “the information which forms the basis for the proposed amendment [or
                                             - 11 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 17 of 29




supplement] . . . at the time they filed their complaint.” See Hegwood, 2006 WL 8437334, at *3;

see also Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981) (The “mere passage

of time need not result in refusal of leave to amend; on the contrary, it is only undue delay that

forecloses amendment.”). Instead, delay becomes “undue” only when it places an “unwarranted

burdens on the court.” Hudson v. L&W Supply Corp., Inc., 2009 WL 10693829, at *5 (S.D. Tex.

June 18, 2009).

         Here, the 2023 Science Article was published long after the Complaint was filed and only

shortly before the November 2023 mediation in this case. ECF 114 at 2. When the mediation

proved unsuccessful, the parties resumed active litigation and Plaintiffs advised Defendants in late

2023 of Plaintiffs’ intention to rely on the October 12, 2023 corrective disclosure at trial. Plaintiffs

brought this motion only when Defendants refused Plaintiffs’ request that they stipulate to use of

the October 12, 2023 corrective disclosure. Further, there is not yet a deadline for amending the

pleadings in the schedule. See ECF 102 at 4 (setting out parties’ differing opinions on a deadline

for leave to amend or supplement). For all these reasons, the motion is timely.

         B.         Undisputed: No Bad Faith or Dilatory Motive

         Second, it is undisputed that this motion is not brought in bad faith or for dilatory motive.

Rather, the need to supplement the Complaint arises from subsequent, post-Complaint events.

Supplementation is necessary to preserve Class members’ ability to recover damages from the

stock drop following the 2023 Science Article. There is no bad faith or dilatory motive here. DT

Apartment Grp., 2012 WL 4740488, at *3 (“Examples of behavior that qualifies as bad faith

include supplementing a pleading in order to destroy federal jurisdiction or intentionally delaying

filing a supplement despite knowing all the relevant facts.”); Travis v. City of Grand Prairie, 2015

WL 13002069, at *7 (N.D. Tex. Aug. 6, 2015) (artfully drafted complaint to omit facts, as opposed

to alleging new facts, is bad faith), aff’d, 654 F. App’x 161 (5th Cir. 2016).

                                                 - 12 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 18 of 29




         C.         Undisputed: No Repeated Failures

         Third, it is undisputed that Plaintiffs have not repeatedly failed to amend or supplement

their pleading. Plaintiffs filed their Complaint on August 18, 2022, and Defendants moved to

dismiss the Complaint on October 25, 2022. The Court then denied Defendants’ motion on

May 11, 2023. ECF 104. Thus, Plaintiffs have not “‘repeated[ly] fail[ed] to cure deficiencies by

previous amendments.’” SGIC Strategic, 839 F.3d at 428. Like the first two factors, this factor

also counsels in favor of granting the motion.

         D.         Undisputed: No Prejudice to Defendants

         Fourth, it is undisputed that no undue prejudice will visit Defendants from Plaintiffs’

supplementation. The Fifth Circuit holds that a defendant may be prejudiced when it must “reopen

discovery and prepare additional theories of the case.” Smith v. EMC Corp., 393 F.3d 590, 596

(5th Cir. 2004); Dueling v. Devon Energy Corp., 623 F. App’x 127, 130 (5th Cir. 2015) (“Delay

is undue and prejudicial if it hinders the opposing party’s ability to respond to the proposed

amendment or to prepare for trial.”).

         Here, there is no need to reopen discovery, as it is ongoing and, in fact, still in its early

stages. Discovery commenced only after the Court denied Defendants’ motion to dismiss, and fact

discovery is not currently set to close until September 2024. See ECF 117. The supplement, which

relates primarily to the loss-causation section of the Complaint, adds a new, highly significant

corrective disclosure, but it does not change or add legal theories. Rather, the supplement is based

on the very same facts as previously alleged – the same allegations that this Court previously

upheld at the motion-to-dismiss stage. Because there is no need to reopen discovery or any

hindrance to Defendants’ ability to prepare for trial, there is no undue prejudice to Defendants.




                                                 - 13 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 19 of 29




         E.         The Proposed Supplement Is Not Futile

         Last, the proposed supplement is not futile. The question for the Court regarding futility

“‘is whether in the light most favorable to the plaintiff and with every doubt resolved in his behalf,

the complaint states any valid claim for relief.’” Stripling v. Jordan Prod. Co., 234 F.3d 863, 873

(5th Cir. 2000). In other words, the Court must assess futility under a Rule 12(b)(6) standard. Id.

For this reason, some Texas district courts address futility “‘in the context of a Rule 12(b)(6) or

Rule 56 motion . . . where the procedural safeguards are surer.’” DT Apartment Grp., 2012 WL

4740488, at *2 (quoting Garcia v. Zale Corp., 2006 WL 298156, at *1 (N.D. Tex. Feb. 1, 2006)).

         Whether the Court addresses futility in this motion or in a motion to dismiss, Plaintiffs’

supplemental allegations are not futile. The standard is straightforward. First, in analyzing a

motion to dismiss for failure to state a claim, the Court “accept[s] ‘all well pleaded facts as true,

viewing them in the light most favorable to the plaintiff.’” ECF 104 at 12. Second, loss-causation

allegations are subject to Rule 8’s liberal pleading standards and thus “need only set forth a short

and plain statement of the claim showing that the pleader is entitled to relief and provide the

defendant with fair notice of what the plaintiff’s claim is and the grounds upon which it rests.” Id.

at 29-30 (quoting Amedisys, 769 F.3d at 320) (cleaned up).

         As the Supreme Court held in Dura, this requirement of a “‘short and plain statement’” is

“not meant to impose a great burden upon a plaintiff.” Dura Pharms., Inc. v. Broudo, 544 U.S.

336, 346-47 (2005). Importantly, “the PSLRA did not create heightened pleading standards” for

loss causation. Spitzberg v. Hous. Am. Energy Corp., 758 F.3d 676, 683 (5th Cir. 2014). Rather,

Rule 8(a)(2) “must be applied . . . to determine whether the plaintiffs pleading of loss causation is

sufficient.” Lormand v. US Unwired, Inc., 565 F.3d 228, 255 (5th Cir. 2009); see Amedisys, 769

F.3d at 320 (applying plausibility standard under Rule 8(a)(2) for loss causation).



                                                - 14 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 20 of 29




         Here, the Court previously upheld Plaintiffs’ loss-causation allegations in the Complaint

that a series of news articles, and other disclosures, concerning data manipulation in Cassava’s

pre-clinical and clinical research gradually revealed the truth and caused the Company’s stock

price to decline. ECF 104 at 30 (Plaintiffs “may . . . rely on” news articles to plead loss causation.).

Plaintiffs’ proposed supplement likewise alleges an additional partial corrective disclosure – the

revelation of the results of the CUNY investigation in the 2023 Science Article and the evidence

of scientific misconduct it uncovered – that caused Cassava’s stock price to decline by over 30%.

See Ex. A, Supp. ¶¶5-7. The 2023 Science Article revealed this information about the CUNY

Report for the first time, finding scientific misconduct based on non-public evidence and

concluding neither Wang nor Burns could not provide any original or raw data to the investigators,

among other facts. This disclosure, therefore, partially corrected Defendants’ false and misleading

statements, including that that “original” and “raw” data had been provided to the journals

investigating alleged data manipulation. Id., Supp. ¶¶1-2.

         These allegations are sufficient to meet the liberal Rule 8(a) pleading standard. See, e.g.,

Amedisys, 769 F.3d at 326 (finding that loss causation is properly pled where the complaint “sets

forth specific allegations of a series of partial corrective disclosures, joined with the subsequent

fall in [the company’s] stock value”). This is doubly true because Defendants do not dispute that

the article is related to the alleged fraud and identified no other cause of the sharp decline in

Cassava’s stock price following its publication. See Lormand, 565 F.3d at 258 (Plaintiffs need

only allege “a facially ‘plausible’ causal relationship between the fraudulent statements or

omissions and plaintiff’s economic loss . . . followed by the leaking out of relevant or related truth

about the fraud that caused a significant part of the depreciation of the stock and plaintiff’s

economic loss.”); Amedisys, 769 F.3d at 321 (Plaintiffs need only “‘provide a defendant with some



                                                 - 15 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 21 of 29




indication of the loss and the causal connection that the plaintiff has in mind.’”). The proposed

supplement thus adequately pleads loss causation and is therefore not futile.

         Defendants nevertheless claim futility based on the same (unsuccessful) arguments made

in their motion to dismiss. There, Defendants argued, as they do again here: (i) that “[m]ost of the

supposed ‘corrective disclosures’ identified in the Complaint occurred after . . . shareholder

plaintiffs initiated this lawsuit” and contained no “new” information (ECF 81 at 34); and (ii) that

certain of the corrective disclosures contained supposedly “unvetted and unverified” (i.e.,

unreliable) accusations. Id. at 31. The Court, however, rejected both of those arguments. See

ECF 104 at 30-31 (sustaining Plaintiffs’ allegations of a series of partial corrective disclosures in

news articles and other sources that “‘gradually informed the market of the relevant truth’

regarding Cassava’s clinical trial results and published research”). Here, Defendants claim that

the supplement would be futile because the 2023 Science Article is “unreliable” and the “issues”

in the article “have been the subject of repeated news coverage” and been addressed “by Plaintiffs’

own amended complaint.” Ex. B at 1. The Court should reject these arguments once again for the

same reasons it did in denying Defendants’ motion to dismiss.8

         Defendants’ fact-bound argument about whether the 2023 Science Article revealed “new”

information or is reliable amounts to a truth-on-the-market defense inappropriate at this stage.

“[W]hether [Defendants’] corrective information was conveyed ‘with a degree of intensity and

credibility’ is a fact-specific inquiry, which is not appropriately disposed of on a motion to

dismiss.” Wieland v. Stone Energy Corp., 2007 WL 2903178, at * 11 (W.D. La. Aug. 17, 2007),

report & rec. adopted, 2007 WL 4403548 (W.D. La. Oct. 1, 2007). As a result, courts “rarely”



8
  See also ECF 86 at 34-35 (responding to Defendants’ arguments that partial corrective
disclosures supposedly cannot plead loss causation because they purportedly fail to disclose “new”
information and are unreliable).

                                               - 16 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 22 of 29




dismiss a complaint based on a truth-on-the-market defense. See In re Amgen Inc. Sec. Litig., 544

F. Supp. 2d 1009, 1025 (C.D. Cal. 2008); see, e.g., Franchi v. SmileDirectClub, Inc., 633 F. Supp.

3d 1046, 1080 (M.D. Tenn. 2022) (argument that allegations were already “public” in a prior

complaint, not “new” information, is a “dispute of fact that [the court] cannot resolve on a motion

to dismiss”).9 After all, the Fifth Circuit has repeatedly cautioned against resolving fact-intensive

issues related to loss causation on a motion to dismiss. See Lormand, 565 F.3d at 267 n.35 (noting

“several circuit courts and district courts point out that it is often inappropriate to use a Rule

12(b)(6) motion as a vehicle to resolve disputes over ‘loss causation’”); Amedisys, 769 F.3d at 325

(“Whether the connection between [a company’s] misleading statements and the alleged corrective

disclosures may ultimately be found too attenuated at a later stage in litigation is a highly fact

intensive inquiry that need not be reached at this point.”).

         In addition to being premature, Defendants are incorrect; the 2023 Science Article revealed

new facts and information that moved the market. The article did not simply re-characterize

previously disclosed information. Rather, the article exposed, for the first time, based on an

extensive investigation of non-public information, that neither Burns nor Wang had any “original

raw data” or “‘even a single datum or notebook in response to any allegation’” to provide. Ex. A,

Supp. ¶¶1-2. This new information directly contradicted Defendants’ prior alleged false and

misleading statements that “original” data had been provided to journals investigating the

misconduct. See ¶¶338-362, 386-407, 451-453. And the report further revealed that evidence



9
    See also Zwick Partners, LP v. Quorum Health Corp., 2018 WL 2933406, at *10 (M.D. Tenn.
Apr. 19, 2018) (because the “‘truth-on-the-market’ defense . . . is intensely fact-specific, it is not
appropriate for the Court to consider it on these Motions to Dismiss”); Asher v. Baxter Int’l Inc.,
377 F.3d 727, 734 (7th Cir. 2004), as amended (Sept. 3, 2004) (“A ‘truth-on-the-market’ defense
is available in principle, . . . but not at the pleading stage.”); In re Motorola Sec. Litig., 2004 WL
2032769, at *25 (N.D. Ill. Sept. 9, 2004) (“The truth-on-the-market defense ‘is intensely fact-
specific and is rarely an appropriate basis for dismissing a §10(b) complaint.’”).

                                                - 17 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 23 of 29




found in the CUNY investigation supported that scientific images had been “improperly

manipulated” and that “deliberate scientific misconduct” occurred. See Ex. A. None of this

information was previously publicly known, especially given that the CUNY investigation was

based on non-public information. See id.

         The 2023 Science Article disclosed for the first time the CUNY Report and its conclusions,

which were based on a first-hand investigation of non-public evidence and records conducted by

the institution that originated much of the research forming the basis of Plaintiffs’ claims. See id.,

Supp. ¶¶1-3. When viewed alongside the prior disclosures, ongoing regulatory investigations and

Defendants’ repeated denials, the new information contained in the 2023 Science Article makes

the alleged fraud “more probable than it would be without that alleged fact, taken as true” and

therefore adequately pleads a corrective disclosure. See Amedisys, 769 F.3d at 321. Indeed, the

2023 Science Article, and CUNY Report findings described therein, provided “more authoritative

fraud-related information that deflated the stock price” In re Apollo Grp., Inc. Sec. Litig., 2010

WL 5927988, at *1 (9th Cir. June 23, 2010) (holding loss causation adequately pled).

         The 30% stock-price drop following the 2023 Science Article also supports the inference

in Plaintiffs’ favor (required at this stage) that the article provided new information to the market.

“Such a drop in price creates a reasonable inference that the information contained in those reports

was material information that had not been previously available to the market.” In re Res. Am.

Sec. Litig., 2000 WL 1053861, at *5 (E.D. Pa. July 26, 2000); see Asher, 377 F.3d at 734 (noting

if “the full truth had reached the market . . . it is hard to understand the sharp drop in the price of

its stock”). Where, like here, the “trajectory of [the company’s] stock price” supports a facially

plausible loss causation theory, “[nothing] more is required at the pleading stage.” In re BP p.l.c.

Sec. Litig., 922 F. Supp. 2d 600, 638 (S.D. Tex. 2013).



                                                - 18 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 24 of 29




         Further, Defendants’ fact-intensive truth-on-the-market defense would apply only if “‘the

corrective information [was] conveyed to the public “with a degree of intensity and credibility”

sufficient to counterbalance effectively any misleading information created by’ the allegedly false

and misleading statements.” Stone Energy, 2007 WL 2903178, at *11 (alteration in original); see

Ganino v. Citizens Utils. Co., 228 F.3d 154, 167 (2d Cir. 2000). But, here, Defendants attempted

to “mitigate the impact of these disclosures by making contemporaneous misstatements to the

market.” Amedisys, 769 F. 3d at 324. In fact, Defendants continue to deny any scientific

misconduct, repeatedly disparaging the allegations as “false” and “misleading” and stating that

there is “no legitimate basis on which to make accusations against the Company.” §II, supra

(citing ¶¶316, 331-333, 386, 412); Ex. A, Supp. ¶4.

         Even after the Citizen Petition was released, Defendants provided doctored evidence to

journals investigating the scientific misconduct in order to obtain exculpatory statements and

inflate the Company’s stock price. ¶¶343, 346-347, 355, 389-393, 402-403. In other words,

Defendants, at every turn, have attempted to mitigate the impact of the prior alleged corrective

disclosures by continuing to misstate the truth. See also ¶¶412-413 (Barbier falsely telling

investors that the FDA denied the Citizen Petition because they did not find evidence of fraud).

Defendants will thus be unable to establish a truth-on-the-market defense and certainly not as a

matter of law at the pleading stage. See Stone Energy, 2007 WL 2903178, at * 11 (“[W]hether

[Defendants’] corrective information was conveyed ‘with a degree of intensity and credibility’ is

a fact-specific inquiry, which is not appropriately disposed of on a motion to dismiss.”).

         Finally, Defendants’ claims that the 2023 Science Article and CUNY Report revealed

therein are unreliable are factual disputes for another day. See ECF 104 at 12 (At the motion to

dismiss stage, the court “‘accept[s] “all well pleaded facts as true, viewing them in the light most

favorable to the plaintiff.”’”); id. at 21 (“[T]he reliability of short-seller reports – here, the Citizen

                                                  - 19 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 25 of 29




Petitions – is a question of fact that the Court cannot resolve at this time.”); Holzwasser v. Staktek

Holdings, Inc., 2006 WL 897746, at *4 (W.D. Tex. Mar. 30, 2006) (“Defendants’ arguments are

fact-based and are insufficient to support a motion to dismiss.”). Further, Defendants are wrong.

The CUNY Report is not unreliable: it is the product of a many months long inquiry conducted

by independent investigators at CUNY, which culminated in the “final” CUNY Report submitted

to the ORI for the federal government. See Ex. A, Supp. ¶¶1-2. Certainly, the market credited the

report, as demonstrated by the dramatic stock decline that followed. See id., Supp. ¶5.

         For all these reasons, Plaintiffs’ proposed supplement is not futile.

VI.      CONCLUSION

         For all the foregoing reasons, Plaintiffs respectfully request that the Court grant their

motion to supplement the Complaint and allow Plaintiffs to file the supplemented Complaint

attached as Exhibit C.

 DATED: February 22, 2024                      Respectfully submitted,

                                               ROBBINS GELLER RUDMAN
                                                & DOWD LLP
                                               DANIEL S. DROSMAN (admitted pro hac vice)
                                               RACHEL JENSEN (admitted pro hac vice)
                                               KEVIN A. LAVELLE (admitted pro hac vice)
                                               MEGAN A. ROSSI (admitted pro hac vice)
                                               HEATHER GEIGER (admitted pro hac vice)


                                                               /s/ Kevin A. Lavelle
                                                              KEVIN A. LAVELLE

                                               655 West Broadway, Suite 1900
                                               San Diego, CA 92101
                                               Telephone: 619/231-1058
                                               619/231-7423 (fax)
                                               dand@rgrdlaw.com
                                               rachelj@rgrdlaw.com
                                               klavelle@rgrdlaw.com
                                               mrossi@rgrdlaw.com
                                               hgeiger@rgrdlaw.com
                                                 - 20 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 26 of 29




                                    Lead Counsel for Lead Plaintiff and Additional
                                    Plaintiff Ken Calderone

                                    KENDALL LAW GROUP, PLLC
                                    JOE KENDALL (Texas Bar No. 11260700)
                                    3811 Turtle Creek Blvd., Suite 825
                                    Dallas, TX 75219
                                    Telephone: 214/744-3000
                                    214/744-3015 (fax)
                                    jkendall@kendalllawgroup.com

                                    Local Counsel for Lead Plaintiff and Additional
                                    Plaintiff Ken Calderone

                                    GLANCY PRONGAY & MURRAY LLP
                                    CHARLES H. LINEHAN (admitted pro hac vice)
                                    1925 Century Park East, Suite 2100
                                    Los Angeles, CA 90067
                                    Telephone: 310/201-9150
                                    310/201-9160 (fax)
                                    clinehan@glancylaw.com

                                    Counsel for Additional Plaintiff Manohar K. Rao




                                     - 21 -
4854-3195-8435.v6
      Case 1:21-cv-00751-DAE-SH Document 129 Filed 02/22/24 Page 27 of 29




                                  CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on February 22, 2024, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the email addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                  /s/ Kevin A. Lavelle
                                                  KEVIN A. LAVELLE

                                                  ROBBINS GELLER RUDMAN
                                                         & DOWD LLP
                                                  655 West Broadway, Suite 1900
                                                  San Diego, CA 92101-8498
                                                  Telephone: 619/231-1058
                                                  619/231-7423 (fax)

                                                  Email: klavelle@rgrdlaw.com




4854-3195-8435.v6
2/22/24, 12:17 PM   Case 1:21-cv-00751-DAE-SH Centralized
                                              Document        129LIVEFiled
                                                          CM/ECF             02/22/24
                                                                      - U.S. District          Page 28 of 29
                                                                                      Court:txwd

Mailing Information for a Case 1:21-cv-00751-DAE-SH In Re Cassava Sciences, Inc. Securities
Litigation
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

      Ramzi Abadou
      ramzia@csgrr.com

      Michael Albert
      malbert@rgrdlaw.com

      Thomas E. Bilek
      tbilek@bileklaw.com,lmank@bileklaw.com

      Mary K. Blasy
      mblasy@rgrdlaw.com,e_file_ny@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Jeffrey C. Block
      jeff@blockesq.com

      Willie C. Briscoe
      wbriscoe@thebriscoelawfirm.com,tsims@thebriscoelawfirm.com

      Warren T. Burns
      wburns@burnscharest.com,mkweik@burnscharest.com,jgravois@burnscharest.com,mvaleriano@burnscharest.com,twhiteside@burnscharest.com

      Stuart L. Cochran
      scochran@condontobin.com,lmedeles@condontobin.com

      Gregg Jeffrey Costa
      gcosta@gibsondunn.com

      John Thomas Cox , III
      tcox@gibsondunn.com,twesley@gibsondunn.com,LGadberry@gibsondunn.com,wcassidy@gibsondunn.com

      Michael Dell'Angelo
      mdellangelo@bm.net,csimon@bm.net,jgionnette@bm.net

      Daniel S. Drosman
      dand@rgrdlaw.com,tholindrake@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Bryan Fears
      fears@fnlawfirm.com,pcox@fnlawfirm.com,nprola@maceybankruptcylaw.com

      William B. Federman
      wbf@federmanlaw.com,ngb@federmanlaw.com,law@federmanlaw.com

      Michael I. Fistel , Jr
      michaelf@johnsonfistel.com,paralegal@johnsonfistel.com

      William J. Foley
      wfoley@orrick.com,lpatts@orrick.com

      Sammy Ford , IV
      sford@azalaw.com,rperez@azalaw.com,tzamora@azalaw.com,jwarshauer@azalaw.com

      Claudia Wilson Frost
      cfrost@steptoe.com,casestream@ecf.courtdrive.com,phowell@orrick.com,dcmanagingattorneysoffice@ecf.courtdrive.com,srenfro@orrick.com

      Heather Geiger
      hschlesier@rgrdlaw.com

      J. Alexander Hood , II
      ahood@pomlaw.com,abarbosa@pomlaw.com

      B. Russell Horton
      rhorton@gbkh.com,kseabolt@gbkh.com,tmanassian@gbkh.com

      Rachel L. Jensen
      rachelj@rgrdlaw.com,tdevries@rgrdlaw.com

https://ecf.txwd.uscourts.gov/cgi-bin/MailList.pl?127625388569123-L_1_0-1                                                                   1/2
2/22/24, 12:17 PM   Case 1:21-cv-00751-DAE-SH Centralized
                                              Document        129LIVEFiled
                                                          CM/ECF             02/22/24
                                                                      - U.S. District          Page 29 of 29
                                                                                      Court:txwd
      Lewis S. Kahn
      lewis.kahn@ksfcounsel.com,ecf.filings@ksfcounsel.com

      Joe Kendall
      jkendall@kendalllawgroup.com,administrator@kendalllawgroup.com

      James N. Kramer
      jkramer@orrick.com

      Natalie F. Lakosil
      nlakosil@rgrdlaw.com,e_file_sd@rgrdlaw.com,bengfelt@rgrdlaw.com

      Kevin A. Lavelle
      klavelle@rgrdlaw.com,e_file_sd@rgrdlaw.com,bengfelt@rgrdlaw.com

      Jeremy A. Lieberman
      jalieberman@pomlaw.com,disaacson@pomlaw.com

      Charles H. Linehan
      CLinehan@glancylaw.com,info@glancylaw.com,charles-linehan-8383@ecf.pacerpro.com

      Matthew Ryan McCarley
      mccarley@foresterhaynie.com,mccmat2000@yahoo.com,wage@foresterhaynie.com

      Adam B. Miller
      adam.miller@orrick.com,jcygnor@orrick.com

      Megan A. Rossi
      mrossi@rgrdlaw.com

      Samuel H. Rudman
      srudman@rgrdlaw.com,e_file_ny@rgrdlaw.com,e_file_sd@rgrdlaw.com,bengfelt@rgrdlaw.com

      Alexander K. Talarides
      atalarides@orrick.com,lpatts@orrick.com

      Jordan Lyn Warshauer
      jwarshauer@azalaw.com,mrivers@azalaw.com,akeniston@azalaw.com

      Braden Michael Wayne
      braden@swclaw.com,lisa@swclaw.com,jamie@swclaw.com

      John A. Yanchunis
      jyanchunis@forthepeople.com,jcabezas@forthepeople.com

Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may
wish to use your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.

   (No manual recipients)




https://ecf.txwd.uscourts.gov/cgi-bin/MailList.pl?127625388569123-L_1_0-1                                                                                 2/2
